     Reset FormCase       5:22-cr-00040-JGB UNITED STATES
                                             Document 34 DISTRICT   COURTPage 1 of 2 Page ID #:88
                                                          Filed 03/18/22
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE SUMMARY

        Case Number &%CR No. 22-40(A)-JGB                                             Defendant Number 1
                                                                                                                              3/18/2022
        U.S.A. v. Matthew Edward Chen                                                 Year of Birth 1995                           jb


         ✔   Indictment                      Information                 Investigative agency (FBI, DEA, etc.) FBI

NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your case, enter "N/A."
OFFENSE/VENUE                                                                  PREVIOUSLY FILED COMPLAINT/CVB CITATION
a. Offense charged as a:                                                       A complaint/CVB citation was previously filed on: 1/27/22
                                                                               Case Number: 22-mj-00369
     Class A Misdemeanor          Minor Offense        Petty Offense
                                                                               Assigned Judge:       Charles F. Eick
     Class B Misdemeanor          Class C Misdemeanor      ✔   Felony
                                                                               Charging: 26 U.S.C. § 5861(d)
b. Date of Offense 10/23/21 through 1/28/22
                                                                               The complaint/CVB citation:
c. County in which first offense occurred
                                                                                      is still pending
Riverside                                                                              ✔   was dismissed on: 2/4/22
d. The crimes charged are alleged to have been committed in
   (CHECK ALL THAT APPLY):                                                     PREVIOUS COUNSEL
                                                                               Was defendant previously represented?           ✔   No     Yes
       ✔ Los Angeles                  Ventura
                                                                               IF YES, provide Name:
             Orange                        Santa Barbara
                                                                                       Phone Number:
         ✔   Riverside                     San Luis Obispo
                                                                               COMPLEX CASE
             San Bernardino                Other                               Are there 8 or more defendants in the Indictment/Information?
                                                                                        Yes*        ✔ No
Citation of Offense 18 U.S.C. § 922(o)(1);
                                                                               Will more than 12 days be required to present government's
26 U.S.C. § 5861(d); and 26 U.S.C. § 5861(i)                                   evidence in the case-in-chief?
                                                                                       Yes*          ✔ No
e. Division in which the MAJORITY of events, acts, or omissions
   giving rise to the crime or crimes charged occurred:                        *AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
                                                                               OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
✔    Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)            TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
                                                                               CHECKED.
     Eastern (Riverside and San Bernardino)         Southern (Orange)
                                                                               SUPERSEDING INDICTMENT/INFORMATION
RELATED CASE                                                                   IS THIS A NEW DEFENDANT?             ✔   Yes        No

Has an indictment or information involving this defendant and                  This is the 1st     superseding charge (i.e., 1st, 2nd).
the same transaction or series of transactions been previously                 The superseding case was previously filed on:
filed and dismissed before trial?
                                                                               February 4, 2022
        ✔ No          Yes
                                                                               Case Number CR No. 22-00040-JGB
        If "Yes," Case Number:
                                                                               The superseded case:
Pursuant to General Order 21-01, criminal cases may be related
if a previously filed indictment or information and the present                 ✔ is still pending before Judge/Magistrate Judge
case:                                                                          Judge Bernal
    a. arise out of the same conspiracy, common scheme,
       transaction, series of transactions or events; or                              was previously dismissed on

    b. involve one or more defendants in common, and would                     Are there 8 or more defendants in the superseding case?
       entail substantial duplication of labor in pretrial, trial or                    Yes*         ✔ No
       sentencing proceedings if heard by different judges.                    Will more than 12 days be required to present government's
                                                                               evidence in the case-in-chief?
Related case(s), if any (MUST MATCH NOTICE OF RELATED
                                                                                        Yes*         ✔ No
CASE):
                                                                               Was a Notice of Complex Case filed on the Indictment or
                                                                               Information?
                                                                                        Yes          ✔ No

                                                                               *AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
                                                                               MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
                                                                               FILED IF EITHER "YES" BOX IS CHECKED.
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                                         CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE SUMMARY

INTERPRETER                                                                 CUSTODY STATUS
Is an interpreter required?         YES      ✔   NO                           Defendant is not in custody:
IF YES, list language and/or dialect:                                         a. Date and time of arrest on complaint: 1/28/22 Los Angeles
                                                                              b. Posted bond at complaint level on: 2/3/22
                                                                                   in the amount of $ $120,000
OTHER                                                                                                                  No
                                                                              c. PSA supervision?        ✔   Yes
 ✔   Male               Female                                                d. Is on bail or release from another district:
 ✔   U.S. Citizen       Alien
Alias Name(s)       Dolphin                                                   Defendant is in custody:
                                                                              a. Place of incarceration:           State        Federal
This defendant is charged in:                                                 b. Name of Institution:
     ✔ All counts                                                             c. If Federal, U.S. Marshals Service Registration Number:
         Only counts:
                                                                              d.      Solely on this charge. Date and time of arrest:
     This defendant is designated as "High Risk" per
     18 USC § 3146(a)(2) by the U.S. Attorney.                                e. On another conviction:               Yes                 No
     This defendant is designated as "Special Case" per
                                                                                    IF YES :     State                Federal             Writ of Issue
     18 USC § 3166(b)(7).
                                          Yes     ✔   No                      f. Awaiting trial on other charges:           Yes           No
Is defendant a juvenile?
IF YES, should matter be sealed?          Yes     ✔   No                            IF YES :     State         Federal      AND
                                                                                   Name of Court:
The area(s) of substantive law that will be involved in this case
                                                                                   Date transferred to federal custody:
include(s):
    financial institution fraud           public corruption                   This person/proceeding is transferred from another district
                                                                              pursuant to F.R.Cr.P.         20             21             40
     government fraud                      tax offenses
     environmental issues                  mail/wire fraud
     narcotics offenses                    immigration offenses
 ✔   violent crimes/firearms               corporate fraud
     Other




EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:




            Date      03/16/2022
                                                                            Signature
                                                                             ignature off Assistant
                                                                                          Assiista U.S. Attorney
                                                                            Reema M. El-Amamy
                                                                            Print Name
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